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                     IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NORTH DAKOTA

MOREHOUSE ENTERPRISES, LLC                )
d/b/a BRIDGE CITY ORDNANCE, et al.,       )
                                          )   Case No. 3:22-cv-00116-PDW-ARS
   Plaintiffs,                            )
                                          )
       v.                                 )
                                          )
BUREAU OF ALCOHOL, TOBACCO,               )
FIREARMS AND EXPLOSIVES, et al.,          )
                                          )
   Defendants.                            )
                                          )
__________________________________________)


   PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION FOR INJUNCTION
                        PENDING APPEAL
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       Plaintiffs submit this memorandum in support of their Motion for Injunction Pending

Appeal.

          “In determining whether to issue a stay pending appeal, [courts] consider four

 factors: (1) whether the party seeking the stay has demonstrated a strong likelihood of

 success on the merits; (2) whether the party seeking the stay will be irreparably injured

 without a stay; (3) whether a stay would substantially injure other parties; and (4) the

 public’s interest.” Org. for Black Struggle v. Ashcroft, 978 F.3d 603, 607 (8th Cir.

 2020). All those factors support a stay here.

          First, Plaintiffs reiterate that they are likely to succeed on the merits of their

 claims and Plaintiffs hereby incorporate their prior arguments here. See Motion for

 Preliminary Injunction, ECF 14; Motion for Permanent Injunction, ECF 19; Notice of

 Joinder, ECF 36; and PI Reply, ECF 78. But beyond this, Plaintiffs assert that this case

 raises sufficiently significant questions to support an injunction pending appeal even

 where the Court initially disagrees as to their likelihood of success on the merits.

 Indeed, “tribunals may properly stay their own orders when they have ruled on an

 admittedly difficult legal question and when the equities of the case suggest that the

 status quo should be maintained.” Washington Metro. Area Transit Comm'n v. Holiday

 Tours, Inc., 559 F.2d 841, 844–45 (D.C. Cir. 1977). Where substantial questions are

 raised, the Eight Circuit notes that a party need not show a “greater than fifty per cent

 likelihood” of success on the merits. Dataphase Sys., Inc. v. C L Sys., Inc., 640 F.2d

 109, 113 (8th Cir. 1981); Walker v. Lockhart, 678 F.2d 68, 71 (8th Cir. 1982) (“‘where

 the movant has raised a substantial question and the equities are otherwise strongly in




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his favor, the showing of success on the merits can be less.’”) (quoting Dataphase, 640

F.2d at 113). Ultimately, an injunction is appropriate where there are “substantial

questions of fact and law for determination” to preserve the status quo “until those

questions [can] be determined.” Chicago, B&Q Railroad v. Chicago Great Western

Railroad, 190 F.2d 361, 363-64 (8th Cir. 1951).

       And district courts throughout the Eighth Circuit have issued equitable relief

pending appeal even where the courts were not convinced that the appellants would

prevail so long as the legal questions were “substantial” or “close.” S ee, e.g., Sweeney v.

Bond, 519 F. Supp. 124, 132 (E.D. Mo. 1981), aff’d, 669 F.2d 542 (8th Cir. 1982);

Perrin v. Papa Johns Int’l, Inc., No. 4:09CV01335, 2014 WL 306250, at *2 (E.D. Mo.

Jan. 28, 2014); see also Population Inst. v. McPherson, 797 F.2d 1062, 1078 (D.C. Cir.

1986) (“It will ordinarily be enough that the [movant] has raised serious legal questions

going to the merits, so serious, substantial, difficult as to make them a fair ground of

litigation”) (quoting Wash. Metro. Area Transit Comm’n v. Holiday Tours, Inc., 559

F.2d 841, 844 (D.C. Cir. 1977). The challenge to the Final Rule presented here concerns

an omnibus federal rulemaking spanning multiple topics, changes to decades-long

definitions, reversals of previously stated ATF policy, expands or creates new federal

crimes, affects industry and individuals, and has an ATF-estimated cost of at least $14.3

million. See, 87 Fed. Reg. 24,652, 24,654 (Apr. 26, 2022). That significance weighs

in favor of granting a stay pending appeal.

       Second, Plaintiffs will be irreparably harmed without a stay pending appeal. The

Court did not directly address the arguments regarding the irreparable harm to the

States, and those are incorporated here. See Notice of Joinder, ECF 36; and PI Reply,




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    ECF 78. Additionally, while the Court stated that the harms the Plaintiffs face are

    “speculative,” Order at 25, ECF 85, Defendants do not appear to think so,

    acknowledging in both the Final Rule and the NPRM that there will be “a significant

    impact” on certain manufacturers and that some companies would “dissolve their

    business.”   PI Reply at 17, ECF 78.        And ATF’s own enforcement activities in

    preparation for the Final Rule’s effective date disabuse one of the notion that such

    harms are purely speculative. Id. at 18-19. In the wake of the Final Rule, entire product

    lines have been shut down by manufacturers. 1      0F   These harms are significant and

    irreparable, especially when considered over the course of an appellate litigation

    schedule during which businesses will not be able to sell products they previously relied

    upon to meet their expenses. Even in a few months, some are likely to, in the ATF’s

    words, “dissolve.”

            Finally, the public interest and balance of equities weigh in favor of granting an

    injunction pending appeal. While the Court considers “the ATF’s interest in law

    enforcement and public safety,” Order at 25, ECF 85, it does not address the States’

    interests in the same, expressed through their own permissive legal schemes, and the

    sovereign injury they incur through the federal government’s encroachment in the Final

    Rule.    And as established, individuals and businesses will suffer unrecoverable

    economic harm and have their Second Amendment activity curtailed for fear of




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  For instance, James Madison Tactical, a popular manufacturer of polymer 80% lower receivers
for the AR-15 no longer has those products on its website for sale. Store, James Madison Tactical,
store.jamesmadisontactical.com/default.asp (showing only one product line available: triggers),
Ex. 1. Google search results for that company establish that 80% lowers previously constituted a
main business line for them as they are mentioned in multiple of the top results. “James Madison
Tactical,” Google Search Results, www.google.com (search “James Madison Tactical”), Ex. 2.


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 crossing the ATF’s still-unclear standards in the Final Rule while ATF is still capable

 of enforcing the current firearms laws—many of which already ban the illegal activity

 they claim the Final Rule will help combat—while the Final Rule is enjoined.

        For these reasons, Plaintiffs respectfully request that this Court enjoin the

 Final Rule pending Plaintiffs’ appeal of this Court’s denial of their Motion for

 Preliminary Injunction.

                                          Respectfully submitted,

Date: August 25, 2022

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* Application for Admission Forthcoming




                                 CERTIFICATE OF SERVICE

       I, Anthony R. Napolitano, hereby certify that I have on this day, caused the foregoing

document or pleading to be filed with this Court’s CM/ECF system, which caused a notice of the

filing and a true and correct copy of the same to be delivered to all counsel of record.

       Dated: August 25, 2022.


                                              /s/ Anthony R. Napolitano
                                              Anthony R. Napolitano




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